

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,872






EX PARTE JUAN A. FUENTES, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 114-0296-07-A IN THE 114TH DISTRICT COURT


FROM SMITH COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of engaging in
organized criminal activity and sentenced to fifty years' imprisonment.  His direct appeal was
dismissed as untimely.  Fuentes v. State, No. 12-07-00349-CR (Tex. App. - Tyler, October 11, 2007,
no pet.).

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal. 

	Following a hearing, the trial court has determined that trial counsel failed to timely file a
notice of appeal.  We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment of conviction in Cause No. 114-0296-07-A from the 114th Judicial
District Court of Smith County.  Applicant is ordered returned to that time at which he may give a
written notice of appeal so that he may then, with the aid of counsel, obtain a meaningful appeal. 
All time limits shall be calculated as if the sentence had been imposed on the date on which the
mandate of this Court issues.  We hold that, should Applicant desire to prosecute an appeal, he must
take affirmative steps to file a written notice of appeal in the trial court within 30 days after the
mandate of this Court issues.

	Applicant's remaining claims are dismissed.  See Ex parte Torres, 943 S.W.2d 469 (Tex.
Crim. App. 1997).

		

Delivered: March 19, 2008

Do Not Publish


